






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. AP-75,996




EX PARTE JUAN ANTONIO GONZALEZ, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. CR-4203-04-I(2) IN THE 398th DISTRICT COURT
FROM HIDALGO COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of capital murder
and sentenced to life imprisonment. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that his counsel rendered ineffective assistance because he failed to
timely file a notice of appeal.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court has determined, based upon an affidavit filed by counsel, that  counsel failed
to timely file a notice of appeal.  We find, therefore, that Applicant is entitled to the opportunity to
file an out-of-time appeal of the judgment of conviction in Cause No. CR-4203-04-I from the 398th
Judicial District Court of HIDALGO County.  Applicant is ordered returned to that time at which
he may give a written notice of appeal so that he may then, with the aid of counsel, obtain a
meaningful appeal.  All time limits shall be calculated as if the sentence had been imposed on the
date on which the mandate of this Court issues.  We hold that, should Applicant desire to prosecute
an appeal, he must take affirmative steps to file a written notice of appeal in the trial court within 30
days after the mandate of this Court issues.
&nbsp;
Delivered: September 10, 2008
Do Not Publish


